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                                                                              Form 1                                                                             Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        20-00394-3F7 JAF                                                  Trustee: (290790)           GREGORY L. ATWATER
Case Name:          ANNAPOLIS JUNCTION RAIL SOLUTIONS,                                Filed (f) or Converted (c): 02/05/20 (f)
                                                                                      §341(a) Meeting Date:       03/10/20
Period Ending:      06/30/20                                                          Claims Bar Date:            05/14/20

                               1                                     2                       3                           4                  5                    6

                       Asset Description                          Petition/          Estimated Net Value              Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled     (Value Determined By Trustee,        Abandoned         Received by       Administered (FA)/
                                                                   Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                 and Other Costs)                                                  Remaining Assets

 1       Operating Account at Bank of America Full Analys          226,469.55                 226,551.15                                  226,551.15                     FA
          Imported from original petition Doc# 3

 2       Notes Receivable: Intercompany loan due from Nor                0.00                         0.00                                        0.00                   FA
          Imported from original petition Doc# 3

 3       A/R 90 days old or less. Face amount = $106,092.          106,092.60                         0.00                                        0.00                   FA
           Imported from original petition Doc# 3

 4       Office Equipment, Vehicles and Other equipment             89,894.01                    89,894.01                                        0.00           89,894.01
          Imported from original petition Doc# 3
 5       REFUNDS (u)                                                     0.00                     1,000.00                                      405.07                594.93

 5       Assets          Totals (Excluding unknown values)        $422,456.16                $317,445.16                                $226,956.22            $90,488.94


     Major Activities Affecting Case Closing:
              TRUSTEE IS INVESTIGATING EQUIPMENT, BANK ACCOUNTS AND REFUNDS.

              2-10-2020 ASSET NOTICE FILED.

              2-10-2020 APPLICATION TO EMPLOY STEVEN VANDERWILT AS ACCOUNTANT FOR THE ESTATE FILED.

              2-10-2020 ORDER AUTHORIZING STEVEN M. VANDEERWILT AS ACCOUNTANT FOR THE ESTATE ENTERED.

              2-11-2011 APPLICATION TO EMPLOY EUGENE JOHNSON AS ATTORNEY FOR THE ESTATE FILED.

              2-11-2011 ORDER APPROVING APPLICATION TO EMPLOY EUGENE JOHNSON AS ATTORNEY FOR THE ESTATE ENTERED.



                                                                                                                                       Printed: 07/28/2020 10:20 AM    V.14.66
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                                                                                Form 1                                                                             Page: 2

                                                     Individual Estate Property Record and Report
                                                                      Asset Cases
Case Number:       20-00394-3F7 JAF                                                     Trustee: (290790)           GREGORY L. ATWATER
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                                                                                        §341(a) Meeting Date:       03/10/20
Period Ending:     06/30/20                                                             Claims Bar Date:            05/14/20

                              1                                        2                       3                           4                  5                    6

                     Asset Description                              Petition/          Estimated Net Value              Property         Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                 Remaining Assets

            3-10-2020 TRUSTEE COLLECTED FUNDS FROM BANK ACCOUNT.

            5-20-2020 CLAIMS REVIEW COMPLETE.

            6-17-2020 ATTORNEY FOR THE ESTATE IS CONTINUING TO INVESTIGATE ASSETS OF THE CORPORATION INCLUDING EQUIPMENT AND REFUNDS.


    Initial Projected Date Of Final Report (TFR): December 30, 2020                 Current Projected Date Of Final Report (TFR): December 30, 2020




                                                                                                                                         Printed: 07/28/2020 10:20 AM   V.14.66
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                                                                            Form 2                                                                                  Page: 1
                                                        Cash Receipts And Disbursements Record
Case Number:         20-00394-3F7 JAF                                                          Trustee:         GREGORY L. ATWATER (290790)
Case Name:           ANNAPOLIS JUNCTION RAIL SOLUTIONS,                                        Bank Name:       Mechanics Bank
                                                                                               Account:         ******2566 - Checking Account
Taxpayer ID #:       **-***6123                                                                Blanket Bond:    $32,583,498.00 (per case limit)
Period Ending:       06/30/20                                                                  Separate Bond:   N/A

   1           2                           3                                  4                                       5                   6                     7
 Trans.     {Ref #} /                                                                                              Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction         T-Code           $                  $               Account Balance
03/10/20       {1}        ANNAPOLIS JUNCTION RAIL         BANK OF AMERICA BANK ACCOUNT              1129-000         226,551.15                                226,551.15
                          SOLUTIONS LLC                   ENDING IN XXXX2858
03/31/20                  Mechanics Bank                  Bank and Technology Services Fee          2600-000                                   181.05          226,370.10
04/30/20                  Mechanics Bank                  Bank and Technology Services Fee          2600-000                                   361.82          226,008.28
05/19/20       {5}        OHC OF THE SOUTHWEST PA         REFUNDS                                   1290-000              101.70                               226,109.98
                          (TX)
05/19/20       {5}        OHC OF THE SOUTHWEST, PA        REFUNDS                                   1290-000              303.37                               226,413.35
                          (TX)
05/29/20                  Mechanics Bank                  Bank and Technology Services Fee          2600-000                                   349.39          226,063.96
06/30/20                  Mechanics Bank                  Bank and Technology Services Fee          2600-000                                   385.41          225,678.55
                                                                         ACCOUNT TOTALS                              226,956.22               1,277.67        $225,678.55
                                                                             Less: Bank Transfers                          0.00                   0.00
                                                                         Subtotal                                    226,956.22               1,277.67
                                                                             Less: Payments to Debtors                                            0.00
                                                                         NET Receipts / Disbursements               $226,956.22           $1,277.67




  {} Asset reference(s)                                                                                                              Printed: 07/28/2020 10:20 AM    V.14.66
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                                                                          Form 2                                                                                   Page: 2
                                                      Cash Receipts And Disbursements Record
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                                                                                               Account:         ******2566 - Checking Account
Taxpayer ID #:     **-***6123                                                                  Blanket Bond:    $32,583,498.00 (per case limit)
Period Ending:     06/30/20                                                                    Separate Bond:   N/A

  1           2                        3                                   4                                          5                  6                     7
Trans.     {Ref #} /                                                                                               Receipts       Disbursements            Checking
 Date      Check #         Paid To / Received From              Description of Transaction           T-Code           $                 $               Account Balance

                            Net Receipts :         226,956.22
                                                ————————                                                               Net             Net                   Account
                                Net Estate :      $226,956.22          TOTAL - ALL ACCOUNTS                          Receipts     Disbursements              Balances
                                                                       Checking # ******2566                         226,956.22              1,277.67         225,678.55

                                                                                                                    $226,956.22          $1,277.67           $225,678.55




 {} Asset reference(s)                                                                                                              Printed: 07/28/2020 10:20 AM    V.14.66
